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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

KENNETH SANDERS, SR., et al.,                   )
                                                )          (WO)
       Plaintiffs,                              )
v.                                              )          CASE NO. 2:04-cv-757-F
                                                )
CITY OF UNION SPRINGS, et al.,                  )
                                                )
       Defendants.                              )

SABRINA KENDRICK, as mother and                 )
next friend of decedent, L.C.,                  )
                                                )
       Plaintiff,                               )
v.                                              )          CASE NO. 2:04-cv-758-F
                                                )
CITY OF UNION SPRINGS, et al.,                  )
                                                )
       Defendants.                              )

                        MEMO RANDUM OPINION AND ORDER

       This cause is before the Court on the M otion for Leave to Amend Complaint to

Substitute Names for Defendant Parties (Doc. # 40) filed in Sanders, et al. v. City of Union

Springs, et al., 2:04-cv-757-F and the Motion for Leave to Amend Complaint to Substitute

Names for Defendant Parties (Doc. # 29) filed in Kendrick v. City of Union Springs, et al.,

2:04-cv-758-F.1 Both motions are opposed. For the reasons set forth in this Memorandum

Opinion and Order, the motions are due to be DENIED.

       On August 6, 2004, counsel for the plaintiffs in these two related actions filed the



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           By prior order, this Court consolidated these cases for certain pretrial matters.
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complaints in this Court. Despite the fact that the Federal Rules of Civil Procedure do not

allow the identification of fictitious defendants, these complaints listed a variety of specific

and identified defendants and also listed various fictitious defendants.

       In October of 2004, the parties submitted their the reports from their planning

meetings pursuant to Federal Rule of Civil Procedure 26(f). According to these reports, the

deadline proposed for Plaintiffs to amend the pleadings or add parties was January 1, 2005.

On October 18, 2004, the Court entered Uniform Scheduling Orders in each of these cases.

The Uniform Scheduling Orders set the cases for trial on December 5, 2005. By entering the

Uniform Scheduling Order pursuant to Federal Rule of Civil Procedure 16, this Court also

specifically set a December 20, 2004 deadline for amending pleadings and adding parties.

None of the parties to this action interposed any objection to any part of the Uniform

Scheduling Orders. Plaintiffs never filed motions seeking to extend the time for amendments

set by the Uniform Scheduling Orders. Accordingly, the time for adding parties to these

actions or otherwise amending the complaints expired in December of 2004.

       On July 21, 2005, the day before the deadline for the filing of dispositive motions,

Plaintiffs filed the motions for leave to amend the complaints in each action. By these

motions, Plaintiff seek to “substitute” the names of certain defendants originally identified

in the complaints as fictitious defendants. Plaintiffs explain that they did not know the names

of these individuals at the time the lawsuit was filed, but that they have learned the names

during discovery. Plaintiffs offer no explanation for their failure to seek leave to amend the



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complaints earlier. Defendants oppose the proposed amendments and argue that Plaintiffs

failed to show good cause for them.

       The Federal Rules of Civil Procedure do not provide for fictitious party practice. See

Fed. R. Civ. P. 10(a) (“[i]n the complaint, the title of the action shall include the names of

all the parties ...”); New v. Sports & Recreation, Inc., 114 F.3d 1092, 1094 n.1 (11th Cir.

1997) (fictitious party practice not permitted in federal court and plaintiff’s failure to name

parties required that court strike parties.) For this reason, the fact that Plaintiffs’ proposed

amendment really is more properly viewed as an attempt to add new parties to these actions

rather than as an attempt to substitute parties. See, e.g., Rommell v. Automobile Racing Club

of Am., Inc., 964 F.2d 1090, 1098 n.14 (11th Cir. 1992). Put another way, the fact that

Plaintiffs purport to be amending the complaints merely to substitute a specific individual for

the fictitious defendant previously identified in the complaints does not mean that Plaintiffs’

proposed amendments are somehow exempt from the application of the deadlines for

amending pleadings or adding parties set forth in the Uniform Scheduling Orders. It is plain

that these motions seek to amend pleadings and to add parties. It is equally plain that the

time for such requests has passed.

       Federal Rule of Civil Procedure 16(b) provides that a schedule, such as the ones this

Court set by entering the Uniform Scheduling Orders in this case, “shall not be modified

except upon a showing of good cause” and by leave of court. Fed. R. Civ. P. 16(b)

(emphasis added). This means that in making a motion for leave to amend a pleading after



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the deadline set by this Court’s scheduling order, Plaintiffs must show good cause exists for

their untimely attempt to amend their complaints. See Sosa v. Airprint Sys., Inc., 133 F.3d

1417, 1419 (11th Cir. 1998) (applying the Rule 16 good cause standard rather than the more

liberal standard of Rule 15 to attempt to amend pleading after deadline set by Court’s

scheduling order is appropriate).

       The Court is not satisfied that Plaintiffs have made a showing of good cause for the

amendments they seek leave to file. Moreover, had Plaintiffs timely and diligently conducted

discovery in these cases, they could have had all the information they needed to amend the

complaints prior to the deadline for amendments. Finally, allowing Plaintiffs to amend the

complaints to add new parties after the deadline for dispositive motions and only a few

months before trial would be prejudicial to Defendants and it would create scheduling

problems for the Court which would necessitate unnecessary delays in the resolution of these

matters.

       Accordingly, it is hereby ORDERED that the Motion for Leave to Amend Complaint

to Substitute Names for Defendant Parties (Doc. # 40) filed in Sanders, et al. v. City of Union

Springs, et al., 2:04-cv-757-F and the Motion for Leave to Amend Complaint to Substitute

Names for Defendant Parties (Doc. # 29) filed in Kendrick v. City of Union Springs, et al.,

2:04-cv-758-F are DENIED.

       DONE this the 27 th day of July, 2005.

                                                    /s/ Mark E. Fuller
                                           CHIEF UNITED STATES DISTRICT JUDGE


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